196 F.2d 48
    90 U.S.App.D.C. 422
    LAWRENCE,v.UNITED STATES.
    Nos. 11210, 11243.
    United States Court of Appeals District of Columbia Circuit.
    Argued March 11, 1952.Decided April 10, 1952.Writ of Certiorari Denied June 9, 1952.See 72 S.Ct. 1082.
    
      Albert A. Stern, Washington, D.C., for appellant.
      Lewis A. Carroll, Asst. U.S. Atty., Washington, D.C., with whom Charles M. Irelan, U.S. Atty., Robert M. Scott and Joseph M. Howard, Asst. U.S. Attys., all of Washington, D.C., were on the briefs, for appellee.
      George Morris Fay, U.S. Atty., when the record was filed, Washington, D.C., also entered an appearance for appellee.
      Before EDGERTON, PROCTOR, and FAHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      In each of these cases appellant was convicted of robbery and the District Court declined to grant a new trial.  In each case appellant's motion for a new trial was based on newly discovered evidence that a prosecution witness had a criminal record.  It may fairly be said that with regard to the character of this witness as revealed by evidence at each of appellant's trials the criminal record of the witness was merely cumulative.  Moreover her testimony regarding appellant's connection with the crimes of which he was convicted was itself merely cumulative.  The court did not abuse its discretion in denying a new trial.  Brown v. United States, 59 App.D.C. 57, 32 F.2d 953.
    
    
      2
      Affirmed.
    
    